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                    EXHIBIT O
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                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                  Alexandria Division

            - - - - - - - - - - - - - - - - -x

            LEAGUE OF UNITED LATIN AMERICAN         :

            CITIZENS - RICHMOND REGION              :

            COUNCIL 4614, ELIUD BONILLA,            :

            LUCIANIA FREEMAN, and ABBY JO           :

            GEARHART,                               :

                              Plaintiffs,           :   CIVIL ACTION NO.

            v.                                      :   1:18-cv-00423

            PUBLIC INTEREST LEGAL FOUNDATION :          (LO/IDD)

            and J. CHRISTIAN ADAMS,                 :

                              Defendants.           :

            - - - - - - - - - - - - - - - - -x



                     Videotaped Deposition of STEVEN ALBERTSON

                                   Washington, D.C.

                                 Tuesday, May 14, 2019

                                      11:04 a.m.



            Job No.:    451690

            Pages 1 through 185

            Reported by:     Cassandra E. Ellis, RPR




                                                                                1


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        1                  Are you familiar with this

        2      report?

        3          A       Yes, I've seen it before.

        4          Q       And similarly, behind Exhibit

        5      B, there's a report dated May 2017,

        6      entitled:    Alien Invasion II, The Sequel

        7      to the Discovery and Coverup of

        8      Non-Citizen Registration and Voting in

        9      Virginia.

      10                   Are you familiar with this

      11       report, as well?

      12           A       I have seen it before.

      13           Q       Did you have any role in

      14       gathering information for use in

      15       publication of either or both of these

      16       two reports?

      17           A       To be honest, I have not

      18       thoroughly examined the reports, nor did

      19       I at the time of their publication.              But

      20       I -- so I'm not sure exactly what,

      21       directly, I might have helped gather

      22       showed up in these reports.

      23                   It's my understanding that the

      24       information that I helped gather provided

      25       some basis for content of these reports.

                                                                               18


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        1      I'm not trying to parse the words too

        2      closely, but I don't want to say that

        3      there's a one for one what I helped

        4      showed up here.     I just don't know that

        5      that's the case.

        6          Q      And how was it that you came to

        7      help gather information for these

        8      reports?

        9          A      As I recall, a mutual friend of

      10       ours, that is between my -- me and

      11       Mr. Adams, informed me of Mr. Adams'

      12       activities, thought I might be

      13       interested, and I thought it sounded like

      14       a worthwhile project, where in my role as

      15       an activist and my personal life I

      16       probably knew a lot of people who would

      17       like to be involved, to the extent that

      18       they could be volunteer contributors to

      19       the effort.

      20                  And that's really what my -- my

      21       role was, was to facilitate involvement

      22       of people in various parts of the

      23       Commonwealth.    I would say, ultimately,

      24       four or five different people.

      25           Q      And what did the four or five

                                                                               19


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        1      people that you contacted, along with

        2      you, yourself, do as part of this effort?

        3          A       So I didn't do any of the,

        4      shall we call it, fieldwork.        And the

        5      fieldwork involved -- at least I don't

        6      recall having done any of it -- the

        7      fieldwork involved sending a volunteer

        8      out to a local registrar's office, with

        9      some sort of a script or set of

      10       instructions on what to request from a

      11       local registrar, and then, if the

      12       registrar complied, how to handle the

      13       response.    And if the registrar didn't

      14       comply what to report back to -- to me to

      15       pass along to PILF.

      16           Q       At the time that you became

      17       involved in this effort did you have any

      18       understanding as to why it was necessary

      19       to actually send people to the

      20       registrar's offices in the first place?

      21           A       I'm sure I had a better

      22       understanding of it then than I do now.

      23       I'm a busy individual, and I have not

      24       gotten fully up to speed on all of the

      25       issues surrounding this.

                                                                               20


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        1                 But as I recall, there was --

        2      and this is based purely on what

        3      Mr. Adams had told me -- was that under

        4      the National Voter Registration Act there

        5      were certain records relating to

        6      maintenance of the voter rolls that were

        7      susceptible to public disclosure upon

        8      request.   And there were some county's

        9      registrars who were complying with such

      10       requests, and others that were not, and

      11       that volunteers were needed to go out and

      12       sort of punctuate that in the counties

      13       where the registrars had not complied

      14       with the request.

      15           Q      Once Alien Invasion I, which is

      16       Exhibit A to the complaint, and Alien

      17       Invasion II, which is Exhibit B to the

      18       complaint, were published were you

      19       involved in any activities intended to

      20       publicize the findings of the report?

      21           A      Yes.    At the time I was

      22       involved with a right-leaning political

      23       blog website called thebullelephant.com,

      24       and I helped get the report published

      25       there.   And I think there were a couple

                                                                               21


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        1      of commentaries that -- that also got

        2      published in relation to the -- to the

        3      report or the reports.

        4          Q      And after one or both reports

        5      was or were published did you have any

        6      communications with state or federal

        7      prosecutors in Virginia about the

        8      possibility of investigating and perhaps

        9      prosecuting non-citizens who had

      10       registered to vote or voted?

      11           A      No.    No.   I certainly

      12       speculated about that possibility, on the

      13       state level, but I think there were two

      14       or three times I may have mentioned it,

      15       and -- in speaking to Christian, and

      16       Christian rejected my ideas and -- and

      17       said he had a plan mapped out at the

      18       federal level.

      19                  So my speculation never went

      20       beyond that.     And, of course, I can't

      21       speak for what anyone else may have done,

      22       but --

      23           Q      And what did you understand the

      24       purpose of the Alien Invasion I and Alien

      25       Invasion II reports to be?

                                                                               22


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        1          Q      And you never heard anything

        2      about that during your work on this

        3      project?

        4          A      No.   My work was very limited

        5      to sending a few folks into the field for

        6      an afternoon or two, and then reporting

        7      back their findings.      I don't recall

        8      having any other part, and I didn't write

        9      the report or -- or -- in fact, I still

      10       haven't read all the way through the

      11       report, so not sure what else is out

      12       there, but from my perspective my role

      13       was just helping to gather a few public

      14       records.

      15           Q      And the public records that you

      16       were trying to gather you understood

      17       would show what?

      18           A      So I understood, from my own

      19       registrar, and my own clerk of court, in

      20       my home county of Stafford, that the

      21       records involved reports that were

      22       generated by the clerk of court to inform

      23       the registrar when members of the jury

      24       pool, who, themselves, have been drawn

      25       from registered voters, indicated that

                                                                               26


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        1      the progression.     And the recipients here

        2      are the other contributors to The Bull

        3      Elephant, that's what they -- that Google

        4      group list is.

        5                 MR. LOCKERBY:      I'd like to

        6          have this marked as Exhibit 30,

        7          please.

        8                 (Exhibit No. 30 was marked

        9          for identification.)

      10    BY MR. LOCKERBY:

      11           Q      Exhibit 30 is a May 31, 2017

      12       e-mail exchange, at least at the top,

      13       between you and Christian Adams.

      14                  And was this in response to a

      15       media contact to you about getting

      16       Christian Adams on our radio show?

      17           A      Yes.

      18                  MR. LOCKERBY:      I'd like to

      19           have this marked as Exhibit 31,

      20           please.

      21                  (Exhibit No. 31 was marked

      22           for identification.)

      23    BY MR. LOCKERBY:

      24           Q      At the top of the first page of

      25       Exhibit 31 there's an e-mail from you,

                                                                               78


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        1      dated December 14, 2017, that reads:

        2      Please see the attached e-mail

        3      correspondence between Perkins Coie and

        4      Edgardo Cortes and Liz Howard.         I assume

        5      it is pretty safe to say that Edgardo and

        6      Liz didn't exhibit this closeness with

        7      our side of the aisle.       Please let me

        8      know your thoughts.

        9                  What were you referring to

       10      there?

       11           A      I don't know what the

       12      attachment said, but this was in the

       13      context of a recount of the 2017 House of

       14      Delegates races where some of my friends

       15      had asked me to get involved because I

       16      could navigate these things, and knew

       17      players and so forth, to help with the

       18      effort and the recount.

       19                  MR. LOCKERBY:      I'd like to

       20           have this marked as Exhibit 32,

       21           please.

       22                  (Exhibit No. 32 was marked

       23           for identification.)

       24    BY MR. LOCKERBY:

       25           Q      Exhibit 32 says it's a FOIA

                                                                               79


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        1      request, dated January 24, 2019, from

        2      Andrew C. Hanson, whose office address is

        3      listed as 1440 New York Avenue,

        4      Northwest, Washington, D.C.

        5                   That's the address of Skadden,

        6      Arps; correct?

        7           A       It's been asked and answered,

        8      but yes.

        9           Q       And down below there's a

       10      request for all written communications

       11      with a number of people, one of whom is

       12      you; correct?

       13           A      That's correct.

       14           Q      When did you become aware that

       15      Skadden, Arps was submitting FOIA

       16      requests for written communications that

       17      various registrars had had with you?

       18           A      I don't recall.

       19           Q      But you did become aware of

       20      that at some point in time?

       21           A      Well, eventually, yes, sometime

       22      this year.

       23           Q      And, in fact, this one, because

       24      it has the letter prefix, prefix SA,

       25      indicates that it's among the documents

                                                                               80


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        1      you produced; correct?

        2            A     That's what you represented to

        3      me.

        4                  MR. LOCKERBY:       I'd like to

        5            have this marked as Exhibit 33,

        6            please.

        7                  (Exhibit No. 33 was marked

        8            for identification.)

        9    BY MR. LOCKERBY:

       10            Q     Exhibit 33 is another January

       11      24, 2019 FOIA request from Andrew Hanson,

       12      that references to you -- references you

       13      directed to the Albemarle County FOIA

       14      officer.

       15                  Were you previously aware of

       16      this?

       17            A     No, I don't think so.

       18            Q     What did you do to prepare for

       19      your deposition today?

       20            A     I gathered materials in

       21      response to the document portion of the

       22      subpoena and consulted with my attorneys.

       23            Q     Other than counsel have you

       24      spoken with anyone else regarding your

       25      deposition?

                                                                               81


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        1           A       My wife, my mother, just

        2      letting them know what I was doing today,

        3      in a deposition.      But I've not spoken to

        4      anyone about the substance or the whole

        5      situation.

        6                   MR. LOCKERBY:     Great.     Well,

        7           thank you.    I have no further

        8           questions.

        9                   THE WITNESS:    Okay.

       10                   MR. LOCKERBY:     Do you want

       11           to --

       12                   MR. SCHWARTZTOL:     We're

       13           going to have questions.        If we

       14           can take about 10 minutes, it

       15           might help me to see if there are

       16           things I might cross off my list.

       17                   MR. LOCKERBY:     Okay.

       18                   MR. SCHWARTZTOL:     And I

       19           might do a better job of not

       20           introducing as new exhibits

       21           documents that have already been

       22           produced.

       23                   MR. LOCKERBY:     Do you want

       24           to move over here?

       25                   MR. SCHWARTZTOL:     In the

                                                                               82


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        1           course of the 10 minutes I'll

        2           switch positions.

        3                  MR. LOCKERBY:      Okay.

        4                  THE VIDEOGRAPHER:       The time

        5           is now 1:46 p.m.      We're off the

        6           record.

        7                  (Recess.)

        8                  THE VIDEOGRAPHER:       The time

        9           is now 1:59 p.m.      We are back on

       10           the record.

       11                        EXAMINATION

       12    BY MR. SCHWARTZTOL:

       13           Q      Good afternoon, Mr. Albertson.

       14      We met, briefly, this morning, but my

       15      name is Larry Schwartztol.        I'm one of

       16      the attorneys for the plaintiffs in this

       17      case.

       18                  You understand that you're

       19      still under oath; correct?

       20           A      Correct.

       21           Q      Okay.    And at the beginning of

       22      the deposition Mr. Lockerby went over

       23      some general ground rules for how the

       24      deposition works and keeping the

       25      transcript clean.      You understand that

                                                                               83


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        1      all of those still apply; correct?

        2           A      Correct.

        3           Q      Okay.     When was the last time

        4      you corresponded with Mr. Adams?

        5           A      I don't specifically recall,

        6      but it's been quite awhile.

        7           Q      Okay.     Did you have any

        8      correspondence with him discussing this

        9      deposition?

       10           A      No.

       11           Q      Okay.   And have you had any

       12      direct communications with the attorneys

       13      representing Mr. Adams or PILF in this

       14      matter?

       15           A      No.

       16           Q      Okay.

       17           A      And I say that not concerning

       18      this matter, I have had some direct

       19      interactions with a couple of the lawyers

       20      who are on the matter, but I only

       21      discovered that they were on this matter

       22      when I actually looked at the pleadings

       23      --

       24           Q      Got it.

       25           A      -- last week.

                                                                               84


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        1           Q      Did you have any conversations

        2      with those lawyers --

        3           A      No.

        4           Q      -- about this matter?

        5           A      No.

        6           Q      Okay.   Since 2016 have you, as

        7      an attorney, represented any clients

        8      outside your capacity as an attorney at

        9      Skadden, Arps?

       10           A      I'm sorry, can you repeat that?

       11           Q      Sure.   Since 2016 have you had

       12      any occasion to represent, as an

       13      attorney, any clients whom you

       14      represented outside your capacity as a

       15      Skadden, Arps attorney?

       16           A      No.   That's not something we're

       17      allowed to do.

       18           Q      Okay.   Have you ever

       19      represented Mr. Adams as an attorney?

       20           A      No.

       21           Q      Have you ever represented PILF

       22      as its attorney?

       23           A      No.

       24           Q      At Skadden is there a process

       25      for initiating a new client matter?

                                                                               85


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        1           A       Absolutely.

        2           Q       How does that process work?

        3           A       It's -- it's a very involved

        4      process that involves the -- the

        5      conducting research into potential

        6      conflicts, going before a client and

        7      engagement review committee, issuing an

        8      engagement letter, and so forth.

        9           Q       Have you ever initiated that

       10      process for purposes of representing

       11      Mr. Adams?

       12           A      Oh, absolutely not.

       13           Q      Have you ever initiated that

       14      process for purposes of representing

       15      PILF?

       16           A      No.

       17           Q      Are you aware of any other

       18      attorneys at Skadden, Arps who have ever

       19      represented Mr. Adams?

       20           A      No.

       21           Q      Are you aware of any other

       22      attorneys at Skadden, Arps who have ever

       23      represented PILF?

       24           A      No.

       25           Q      Do you think you'd know if

                                                                               86


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        1      there were other --

        2           A      I can infer by the fact that

        3      we're representing the plaintiffs that

        4      there was a conflicts check done and that

        5      there would have been no conflict with

        6      Mr. Adams or PILF because no such

        7      representation existed.

        8           Q      Okay.    So you have said a

        9      little bit earlier in the day about the

       10      work that you did in connection with the

       11      Alien Invasion reports, back in 2016, and

       12      I wanted to just ask you a few questions

       13      about the timeline on which that took

       14      place.

       15           A      Certainly I'll do my best.

       16           Q      Great.   So let me begin by --

       17      and I should confess, I've lost track of

       18      what number exhibit we're on.

       19                  MR. KISTLER:    34.

       20                  MR. SCHWARTZTOL:      34?

       21                  (Exhibit No. 34 was marked

       22           for identification).

       23                  MR. SCHWARTZTOL:      Now the

       24           court reporter will give you what

       25           will be marked as Exhibit 34.

                                                                               87


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        1      are your e-mails; correct?

        2           A      Correct.

        3           Q      Okay.    You say in the e-mail

        4      sent at 2:13 p.m., on September 9th, that

        5      you know Christian and have worked with

        6      him before, you're referring to

        7      Mr. Adams, the defendant in this case; is

        8      that correct?

        9           A      That's correct.

       10           Q      In what context have you worked

       11      with him before?

       12           A      I was afraid you might ask me

       13      that.    I -- I'm having difficulty

       14      remembering, but I don't think -- when I

       15      did remember this, as I was preparing,

       16      that it really wasn't something that I

       17      had worked with him before, it was a --

       18      we had shared notes on something fairly

       19      minor, before.      And it had to do, I

       20      think, with some issue relating to the

       21      electronic signing of voter applications,

       22      voter registration applications in

       23      Virginia, and how the change that had

       24      come from the State Board of Elections

       25      with regard to that had apparently

                                                                               89


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        1      circumvented the typical rules-making

        2      process.    That's my best recollection.          I

        3      don't think we did any work, per se; it

        4      was just a, hey, what do you think of

        5      this, kind of thing.

        6           Q      Do you remember what year that

        7      would have been?

        8           A      That would have been 2015.

        9           Q      Okay.   So prior to this e-mail

       10      exchange had you corresponded in any way

       11      with Mr. Adams about the Alien Invasion

       12      report?

       13           A      I'm pretty sure I did not.          But

       14      again, if you showed me something, I

       15      wouldn't be surprised.      But I'm pretty

       16      sure this -- this is what started it.

       17           Q      Sure.   You can't think of any

       18      correspondence --

       19           A      Correct.

       20           Q      -- right now?     Okay.

       21                  MR. SCHWARTZTOL:     Okay.    I

       22           am going to give you a new

       23           document, going to give you what

       24           will be marked as Exhibit 35.

       25                  (Exhibit No. 35 was marked

                                                                               90


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        1      is in reference to?

        2           A        No.   Do I need to read this and

        3      make a surmise?

        4           Q        Feel free to read the document,

        5      if you need to, to answer the question.

        6      But my question is just whether looking

        7      at that exchange of e-mails you know what

        8      that refers to?

        9           A        I have no idea, no.

       10                  MR. SCHWARTZTOL:       Okay.

       11           Great.    Okay.    I'm going to give

       12           you Exhibit 39, which is the

       13           transcript of the deposition of

       14           Mr. Adams in his capacity as a

       15           Rule 30(b)(6) designee of PILF in

       16           this lawsuit.

       17                  (Exhibit No. 39 was marked

       18           for identification.)

       19    BY MR. SCHWARTZTOL:

       20           Q      Do you know what a 30(b)(6)

       21      deposition is?

       22           A      Yes.

       23           Q      Okay.     And is it your

       24      understanding that when a witness is

       25      designated pursuant to Rule 30(b)(6)

                                                                              100


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        1      they're supposed to study the records of

        2      the organization on whose behalf they're

        3      testifying and generally seek to give

        4      truthful testimony?

        5           A      That's my understanding.

        6           Q      Okay.     Have you ever seen this

        7      document before?

        8           A      No.

        9           Q      Okay.     Let me ask you to turn

       10      to page 78, line 13.

       11           A      So physical page 78 or --

       12           Q      Transcript page 78.

       13                  MR. KISTLER:      It's physical

       14           page 21.

       15                  THE WITNESS:      Okay.

       16    BY MR. SCHWARTZTOL:

       17           Q      Okay.     So starting at line 13,

       18      you see that Mr. Adams is being

       19      questioned about a document bearing the

       20      Bates number PILF Adams 0046537 through

       21      0046538?

       22           A      Yes.

       23           Q      And could you just take a look

       24      at the -- the previous exhibit, Exhibit

       25      38, and confirm that that document bears

                                                                              101


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        1      that same Bates number -- or excuse me,

        2      two exhibits back, Exhibit 37.

        3           A      Can you reread the Bates number

        4      for me?    Yeah, I think that's Exhibit 38.

        5           Q      38, yes, excuse me.

        6           A      Yes.    Those -- that's the Bates

        7      number that we have for Exhibit 38.

        8           Q      Great.    Okay.   So let me refer

        9      you to page 80, line 20 of the deposition

       10      transcript, and ask you to read from that

       11      line --

       12           A      What -- what -- what page?

       13      Sorry.

       14           Q      Page 80, line 20.

       15           A      Yeah?    Okay.

       16           Q      And let me ask you to read from

       17      there through page 82, line two.         And

       18      just let me know when you're done.

       19           A      Okay.    So line 20, Q, okay, now

       20      when you --

       21           Q      You don't need to read out

       22      loud.    I'm going to ask you some

       23      questions about this exchange.

       24           A      Very good.

       25           Q      Just wanted to give you a

                                                                              102


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        1      minute to --

        2             A    I have it on video now.

        3                  Wow.    Wow.   So I'm at the

        4      bottom of page 82.

        5             Q    Okay.    Mr. Albertson, I

        6      gathered from your response while reading

        7      that that you were surprised to read that

        8      testimony?

        9             A    I am surprised, and -- and,

       10      frankly, disappointed.

       11           Q      Can you please tell me why

       12      you're surprised and disappointed?

       13           A      Because it was always

       14      represented to Mister -- and this is the

       15      first time I have seen this -- it was

       16      always represented by me, to Mr. Adams,

       17      it was very clear that this was being

       18      done in my personal capacity, not on

       19      behalf of my law firm.       It was very

       20      abundantly clear, obvious, that's number

       21      one.

       22                  Number two, I had nothing to do

       23      with the effort in Prince William,

       24      absolutely nothing to do, and -- and as

       25      far as I know, it looks like he's just

                                                                              103


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        1      making it up that somebody from Skadden

        2      had something to do with that.

        3                  Number three, there were

        4      Skadden, Arps e-mails, from Skadden, Arps

        5      lawyers, plural.     Again, to my knowledge

        6      there was no one else from Skadden, Arps.

        7      This appears to me to be Mr. Adams

        8      grasping at straws and -- and just making

        9      stuff up, defamatory, honestly, about my

       10      law firm, simply because of something I

       11      did in my personal capacity, as a

       12      well-established activist in Virginia

       13      politics, fully apart and aside from my

       14      work at Skadden, Arps.

       15           Q      Thank you, Mr. Albertson, and I

       16      have to say, because we're going to talk

       17      about some other excerpts in this

       18      transcript, I think you may continue to

       19      feel surprised and disappointed by -- by

       20      some of the testimony, but I'll --

       21                  MR. LOCKERBY:     I'm going to

       22           object to the gratuitous comment,

       23           which is not a question.

       24                  MR. SCHWARTZTOL:     Okay.

       25    ///

                                                                              104


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        1    BY MR. SCHWARTZTOL:

        2           Q      So just to put a fine point on

        3      the testimony you just gave, the document

        4      in which Mr. Adams refers to the notion

        5      that David Norcross says:       We hit pay

        6      dirt.

        7           A      Can I stop and -- I -- I'd like

        8      to amend my previous answer, if that's

        9      okay with you?

       10           Q      Sure.

       11           A      The -- the other thing, where

       12      Mr. Adams says, on page 81, well, you

       13      know you don't need a retention letter to

       14      have a client.      And in this particular

       15      instance I had assumed that Skadden, Arps

       16      was assisting.      He has absolutely no

       17      basis other than some e-mails that came

       18      from a Skadden, Arps e-mail account on

       19      which -- to -- to -- to state that.

       20                  There was never any meeting of

       21      the minds, there was never any provision

       22      of legal advice in an attorney-client

       23      sense, absolutely none, none.

       24                  Please resume your question.

       25           Q      And is it safe to conclude

                                                                              105


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        1      further, Mr. Albertson, that because the

        2      e-mail that references having hit pay

        3      dirt was exchanged in August of 2016, and

        4      references documents that were obtained,

        5      in light of the fact that you didn't

        6      begin this project until September of

        7      2016 that it's not possible that you

        8      could have been providing assistance in

        9      obtaining the records from Prince William

       10      County?

       11           A      That's correct.

       12           Q      Okay.   So to the best of your

       13      understanding, in the testimony that you

       14      just reviewed, was Mr. Al -- excuse me --

       15      was Mr. Adams testifying untruthfully?

       16           A      Yes.

       17           Q      Let me direct your attention to

       18      page 85, line four.      Please read from

       19      line four on that page to line 19.         Just

       20      let me know when you're done.

       21           A      I'm done.

       22           Q      Do you have any reaction to

       23      that testimony?

       24           A      It's a lie, for the reasons

       25      that we've just previously established.

                                                                              106


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        1      I was not involved with this.        He had no

        2      basis on which to suggest that Skadden

        3      was involved in prying this data loose

        4      from Prince William County, none, at all,

        5      zero.

        6           Q      Let me ask you to look at page

        7      88, line four.

        8           A      In fact, he would have had zero

        9      reason to suggest that I had anything to

       10      do with it, much less Skadden, Arps.

       11                  Can you please repeat your

       12      question?

       13           Q      Sure.   Well, let me -- let me

       14      ask you to elaborate on the last

       15      statement you just made.       Why would he

       16      have no reason to believe that you had

       17      any role in what's described there?

       18           A      Because I hadn't had any

       19      contact with him on this whole subject

       20      until the following month, much less been

       21      involved early enough to, quote, unquote,

       22      hit pay dirt in August.

       23           Q      Let me ask you to look at page

       24      88, line four, and to read from line four

       25      on page 88 through page 91, line one.

                                                                              107


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        1      And again, just let me know when you're

        2      done.

        3           A      391, you say?

        4           Q      Yes, sir, 91, page one --

        5      excuse me, page 91, line one.        Are you

        6      done?

        7           A      Yes.

        8           Q      Do you have a reaction to that

        9      testimony?

       10           A      Same as the last one,

       11      there's -- there's absolutely no basis

       12      for this.

       13           Q      In the testimony that you --

       14           A      And it's just -- he wants to

       15      say Skadden, Arps, when he knows that's

       16      not true.    And he also knows it's true

       17      that it's not me.      There's no basis for

       18      this.

       19           Q      And so in this testimony that

       20      you just reviewed, to the best of your

       21      knowledge, Mr. Adams is testifying

       22      untruthfully; is that correct?

       23           A      Yes.

       24           Q      A few lines down on page 91,

       25      let me ask you to read lines 12 through

                                                                              108


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        1      21.       Please tell me when you're done.

        2            A       Okay.

        3            Q       Okay.    So he refers here to

        4      your law firm's lawyer at Skadden, Arps

        5      also organized an effort to collect

        6      documents from those recalcitrant --

        7      recalcitrant counties to try to duplicate

        8      the success he enjoyed in Prince William

        9      County in getting the documents to PILF?

       10            A       Correct.

       11            Q       When he refers to a lawyer who

       12      organized an effort to collect documents

       13      from a recalcitrant counties is it

       14      possible he is, in fact, referring to you

       15      there?

       16            A       I --

       17                    MR. LOCKERBY:      Objection to

       18            the form.

       19            A       I'm assuming that -- and to be

       20      most charitable, he's conflating some

       21      sort of a memory of the effort that I

       22      undertook to get some volunteers in some

       23      other counties.        So I assume that's what

       24      he means there.

       25                    But to say that it is to try to

                                                                              109


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        1      duplicate the success he enjoyed in

        2      Prince William County in getting the

        3      documents to PILF is made up.

        4           Q      Because you weren't involved in

        5      those efforts; correct?

        6           A      Correct.

        7           Q      Okay.    That's all on the

        8      deposition transcript, all the questions

        9      I'll be asking you on that transcript.

       10                  So you did, at some point, come

       11      to do some work with Mr. Adams in

       12      connection with the Alien Invasion

       13      report; correct?

       14           A      Yes.

       15           Q      Tell me about the role you

       16      played.

       17                  THE WITNESS:    I want to read

       18           this later.

       19                  MS. MURPHY:    I know.

       20                  THE WITNESS:    The role I

       21           played in -- in what, I'm sorry?

       22    BY MR. SCHWARTZTOL:

       23           Q      In connection with the

       24      preparation of the Alien Invasion report?

       25           A      No.    I just helped him gather

                                                                              110


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        1             A    No.     I'm sorry, I wish I could

        2      give you a more solid answer.         But I'll

        3      also draw your attention to the fact that

        4      the sentence after that which you just

        5      quoted says:      Our, sic, report now

        6      assumes they got no more data from them.

        7                  Again, I think you could

        8      probably read that either way.         I have no

        9      recollection of providing data.            I'm not

       10      just going to -- I can't rule out that I

       11      did.

       12            Q     Understood.     Thanks.

       13                  MR. SCHWARTZTOL:      And I'm going

       14      to show you another document.         Are we on

       15      42?

       16                  THE VIDEOGRAPHER:       Yes.

       17                  MR. SCHWARTZTOL:      42, okay.

       18                  (Exhibit No. 42 was marked

       19            for identification.)

       20    BY MR. SCHWARTZTOL:

       21            Q     Give you a minute to read the

       22      exchanges of e-mails, here.         Just let me

       23      know when you're done.

       24            A     Okay.

       25            Q     Who is Jordan Labiosa?

                                                                              124


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        1             A     He is a local activist in Craig

        2      County, Southwest Virginia, whom I had

        3      sought assistance from in finding a way

        4      to make the data actionable.

        5             Q     Would you describe Mr. Labiosa

        6      as a liberal Democrat?

        7             A     No.

        8             Q     Why not?

        9             A     Because he is a pretty staunch

       10      Libertarian conservative.

       11           Q      Okay.    What does Mr. Labiosa

       12      tell you about the run list that you sent

       13      him?

       14           A      He was uncomfortable with

       15      proceeding with the project because one

       16      of the individuals on the list was

       17      somebody that he had been close to or

       18      pictured on Facebook with and had

       19      participated in previous elections.

       20           Q      And could you read out loud

       21      your response to him?

       22           A      Is it possible your friend is

       23      one of the accidentals, i.e., those who

       24      are citizens but had trouble with the

       25      forms?     It's looking like that's 10 to 15

                                                                              125


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        1      percent of what we have and many of those

        2      have been reinstated.       Not looking to

        3      take action against those folks, of

        4      course.

        5           Q       When you refer to the 10 to 15

        6      percent of what we have, who is the we

        7      that you're referring to?

        8           A       I'm assuming the reference

        9      there is to the effort, the joint PILF

       10      grassroots kind of effort to -- to gather

       11      this data.

       12           Q      What was your basis for that 10

       13      to 15 percent estimate?

       14           A      I believe that was something I

       15      would have gotten from Mr. Adams.

       16           Q      Can you think of any other

       17      potential basis for your estimate as to

       18      the rate of accidentals within that list?

       19           A      Well, I have no other -- I

       20      would not have gotten any information on

       21      the data from any other source that --

       22      that -- that I can recall.        The only

       23      other information I got about this, and I

       24      think I mentioned or alluded to this

       25      earlier, was my own clerk of court and

                                                                              126


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        1      general registrar in Stafford County had

        2      both indicated to me their faith that the

        3      data were, you know, accurate.

        4                   It was never posited, you know,

        5      could somebody have mistakenly checked

        6      the box.     My -- I think they would have

        7      been incredulous at the thought.          But

        8      I'm, you know, just speculating there.

        9                   But those are the only folks

       10      that I talked to about, until Jordan,

       11      about whether or not there was somebody

       12      on the list that shouldn't have been, as

       13      I recall.

       14           Q       Do you have any basis for

       15      knowing that the rate of accidentals on

       16      that list would not have been higher than

       17      15 percent?

       18           A       No.

       19           Q       Did anyone at PILF give you any

       20      guidance on how to reduce the percentage

       21      of accidentals on any of these lists?

       22                   MR. LOCKERBY:     Object to the

       23           form.

       24           A       Not that I recall.

       25           Q       Did you provide any guidance

                                                                              127


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